                Case 8:24-bk-00676-RCT           Doc 195        Filed 04/29/24        Page 1 of 25




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


In re:                                                                 Case No. 8-24-bk-00676-RCT

THE CENTER FOR SPECIAL NEEDS
TRUST ADMINISTRATION, INC.,                                            Chapter 11

           Debtor.
                                            /

           CHAPTER 11 TRUSTEE’S MOTION TO ENFORCE AUTOMATIC STAY

           Michael Goldberg, the Chapter 11 Trustee (“Chapter 11 Trustee”), by and through

undersigned counsel, pursuant to 11 U.S.C. §§ 105(a) and 362, respectfully requests that the Court

enter an order to enforce the automatic stay as to the Class Actions (defined below)1 and, in

support, would show the Court as follows:

                                                  Background

           1.      On February 9, 2024, The Center for Special Needs Trust Administration, Inc. (the

("Center" or the “Debtor”) filed a voluntary chapter 11 petition (Doc. 1).

           2.      On March 8, 2024, the U.S. Trustee filed an Expedited Motion for Order Directing

the United States Trustee to Appoint a Chapter 11 Trustee by Agreement of the Debtor (Doc. 88).

The Court granted the U.S. Trustee’s Motion by Order dated March 11, 2024 (Doc. 93).

           3.      On March 21, 2024, the Court entered its Order Approving Appointment of Chapter

11 Trustee, appointing Michael Goldberg as Chapter 11 Trustee (Doc. 109).




1
  Contemporaneously herewith, the Chapter 11 Trustee will be filing a copy of this motion with the District Court in
the Class Actions.


76051501
                Case 8:24-bk-00676-RCT           Doc 195   Filed 04/29/24    Page 2 of 25




           4.      The Debtor is a 501(c)(3) non-profit Florida corporation that administers pooled

trusts and special needs trusts. For more information about the Debtor’s background, please see the

Debtor’s Case Management Summary (Doc. 7).

           5.      The Debtor is the trustee or co-trustee of numerous special needs trusts, including

both stand-alone trusts and pooled trusts (collectively “SNT”) for approximately 2,000 beneficiaries

who suffer from various levels of disability (the “Beneficiaries”). The Debtor’s primary service as

trustee of the SNTs is to manage the SNTs, maintain records for assets managed by third-party

investment managers, respond to request for distributions from Beneficiaries, and make distributions

in a manner that still ensures that the applicable beneficiary meets the income and asset thresholds

to qualify for certain public assistance benefits, such as Medicaid, Social Security, or Supplemental

Security Income. The Debtor’s services help to ensure that Beneficiaries maintain their qualification

for these critical public assistance benefits.

           6.      Each Beneficiary has its own trust account or sub-trust account (a “SNT Account”)

that reflects the specific assets in the respective Beneficiary’s SNT, or in the case of a pooled SNT,

the specific assets allocated to the Beneficiary’s sub-trust account (collectively “SNT Funds”).

           7.      As the Debtor outlined in its Case Management Summary, the Debtor’s leadership

discovered that the Debtor loaned approximately $100,000,000 to a third-party Boston Financial

Group (“BFG”), a group controlled by the Center’s founder Leo Govoni (“Govoni”), which loan

remains outstanding in an amount of not less than $142,283,314 inclusive of interest (and at the

default rate since September 13, 2023) (the “Loan”) (see Doc. 66). The Loan to BFG is evidenced

by multiple revolving line of credit agreements between BFG and the Debtor, a security agreement,

promissory notes by BFG made in favor of the Debtor for $100 million, and a personal guaranty

executed by Govoni (collectively, the “Loan Documents”).



                                                     2
76051501
                 Case 8:24-bk-00676-RCT              Doc 195        Filed 04/29/24          Page 3 of 25




           8.       The Loan Documents were executed by Govoni on behalf of BFG and Todd Belisle

on behalf of the Debtor. Further, the Loan is exclusively between the Debtor and BFG, there is no

direct contractual relationship involving the Beneficiaries in regard to the Loan. Indeed, the money

utilized to fund the Loan appears to have been misappropriated by the Debtor from the

Beneficiaries in order for the Debtor to fund the Loan to BFG. The Debtor served as the trustee to

the special needs trusts creating a fiduciary duty owed by the Debtor to the Beneficiaries. Thus, any

direct claims by the Beneficiaries for recovery of the Loan proceeds are direct claims against the

Debtor and should be handled through the claims administration process in this bankruptcy case.

           9.       The Loan matured on January 1, 2017. The Debtor made several formal demands

to BFG but the balance and accrued interest remain outstanding. BFG defaulted on the Loan and

breached the terms of the Loan. See Case Management Summary (Doc. 7).

           10.      The Debtor filed this voluntary petition for Chapter 11 for the purpose of, inter alia,

pursuing claims against responsible parties with the goal of recovering the transferred funds and

other assets, and distributing these funds for the benefit of the Debtor's creditors and the

Beneficiaries.

           11.      On April 25, 2024, the Chapter 11 Trustee filed an adversary proceeding against BFG

and Govoni for breach of the Loan Documents, for turnover of property of the estate and for an

accounting, seeking the recovery of the outstanding amount due under the Loan of not less than

$142,283,314 (the “Adversary Proceeding”).2 See Adv. Proc. No. 8:24-ap-00139-RCT; Doc. 1.


2
  While the Chapter 11 Trustee is only pursuing claims against BFG and Govoni for breach of the Loan Documents
at this time, the Chapter 11 Trustee believes that BFG and Govoni may have acted tortiously and specifically reserves
the right, upon completion of his investigation and discovery, to assert any additional claims for relief against BFG and
Govoni, including, but not limited to, fraud and breach of fiduciary duty, and to add additional defendants which he may
identify, including, but not limited to, other entities owned and/or controlled by Govoni via substantive consolidation,
adverse domination, veil piecing, alter ego, or any other theory as allowed by law or equity. In addition to the outstanding
amount due under the Loan, the Chapter 11 Trustee reserves the right to seek the recovery of any additional losses
incurred by the Debtor because, as he understands, tens of millions of dollars of additional funds earned from
administering the SNTs may be missing from the estate.

                                                             3
76051501
                 Case 8:24-bk-00676-RCT         Doc 195       Filed 04/29/24     Page 4 of 25




           12.      Since the commencement of this Chapter 11 case, the Beneficiaries have filed two

class action complaints (collectively, the “Class Actions”) in the United States District Court for the

Middle District of Florida against BFG and various third parties, alleging several counts which, at

bottom, seek nothing more than the return of the proceeds of the Loan due to the Debtor from BFG

and Govoni.

           13.      The first class action3 was filed on February 19, 2024 by Beneficiary Clark

Chamberlin, a disabled minor child, by and through his parents and co-guardians Todd Chamberlin

and Kelli Chamberlin, and on behalf of all other similarly situated Beneficiaries (collectively, the

“Chamberlin Class Action Plaintiffs or CCAP”), against defendants BFG; Boston Asset

Management, Inc. (“BAM”); Govoni; John W. Staunton, Esq. (“Staunton”); Jonathan Golden

(“Golden”); Prospect Funding Holdings, LLC (“Prospect Funding”); Prospect Funding Partners,

LLC (“Prospect Partners”); Prospect Funding Holdings (NY) III, LLC (“Prospect III”); and

American Momentum Bank (“AMB”) (collectively, the “Chamberlin Class Action Defendants or

CCAD”), alleging 12 different counts, described in further detail below (collectively the

“Chamberlin Class Action Claims”).

           14.      The second class action complaint4 was filed on April 9, 2024 by T.L, a disabled

adult by and through Shawnta Orris, his guardian ad litem, individually and on behalf of all others

similarly situated (collectively, the “Orris Class Action Plaintiffs” or “OCAP”), against defendants

Govoni, Staunton, Todd Belisle (“Belise”), Richard Shonter (“Shonter”), Caitlin Janicki (“Janicki”),

Tracey Gregory (“Gregory”), Michelle Diebert (“Diebert”), Laura Davis (“Davis”), Carl Schroeder




3
    Chamberlin v. Boston Finance Group, LLC, No. 8:24-cv-00438-SDM-AEM (M.D. Fla. Feb. 19, 2024).
4
    Orris v. Govoni, No. 8:24-cv-00874-CEH-AEP (M.D. Fla. Apr. 9, 2024).


                                                       4
76051501
                 Case 8:24-bk-00676-RCT          Doc 195        Filed 04/29/24        Page 5 of 25




(“Schroeder”), and BFG (collectively, the “Orris Class Action Defendants” or “OCAD”), alleging 4

different counts (collectively the “Orris Class Action Claims).

           15.      The Class Actions were filed independently of the Trustee's administration of the

bankruptcy estate. All of the Chamberlin Class Action Claims and the Orris Class Action Claims are

based on the same harm/misconduct caused by BFG's breach and default of the $100 million Loan

by the Debtor to BFG. The Class Actions also seek the recovery of the same funds owed to the

Debtor under the Loan Documents, i.e., the $100 million in principal amount loaned by the Debtor

to BFG.

           16.      Each alleged harm in the Class Actions derive from and is a continuation of the initial

harm—the Debtor's direct loss due to the breach of the Loan Documents.

           17.      Each count in the Class Actions is interconnected to the same alleged harm and thus

all of the subsequent harm and injury caused by the breach of the Loan Documents are legal claims

that belong to the bankruptcy estate which the Chapter 11 Trustee has the exclusive standing to

pursue.

           18.      Moreover, the Debtor's current and former directors and officers (collectively, the

“D&Os”) owed a fiduciary duty to the Debtor, and thus any breach of fiduciary duty claim against

the D&Os, including any insurance policies and the subsequent insurance proceeds providing

coverage for said breach, belong to the bankruptcy estate.5 See, e.g., In re SemCrude, 796 F.3d 310,

312–13, 322 (3d Cir. 2015) (claims of breach of fiduciary duty, negligent misrepresentation, and

fraud are property of bankruptcy estate because the individual shareholders could not demonstrate

any loss in addition to the loss sustained by the corporation); In re Sacred Heart Hospital of


5
  The Chapter 11 Trustee is aware of three insurance policies that may provide coverage in connection with claims by
the Debtor against the D&Os: (1) a $1 million D&O policy with an additional $500,000 side A coverage; (2) a $2
million E&O policy; and (3) $1 million commercial crime policy. Prior to the Petition Date, the Debtor submitted
notices of claim in connection with the D&O and E&O policies.

                                                         5
76051501
                 Case 8:24-bk-00676-RCT      Doc 195     Filed 04/29/24     Page 6 of 25




Norristown, 182 B.R. 413, 419-20 (Bankr. E.D. Pa. 1995) (holding that “[p]roceeds available for the

[d]ebtor's liability exposure are not segregated from the [p]roceeds available to the directors and

officers. Thus, the [d]ebtor is indeed an insured and has a sufficient interest in the [p]roceeds as a

whole to bring them into the estate.”); In re Eastwind Grp., Inc., 303 B.R. 743, 747-48 (Bankr. E.D.

Pa. 2004) (holding that the trustee has an interest in the D&O policy proceeds because the covered

claims under the D&O policy directly relate to the management of the debtor and can potentially

benefit the estate and “enjoining shareholders from prosecuting class action against directors and

officers on basis that it might diminish asset of estate: proceeds of D & O policy.” (citing In re

marchFIRST, Inc., 288 B.R. 526, 532 (N.D. Ill. 2002)).

                                      The Chamberlin Complaint

Count I: Conversion Against BFG, Govoni, Staunton, and Golden

           19.      The CCAPs allege BFG, Govoni, Staunton and Golden wrongfully exercised

dominion over the SNT Funds of the CCAPs by using the SNT Funds to fund the Loan without

authorization. This claim is not a direct claim, but rather seeks recovery of the same misappropriated

money that funded the Loan by the Debtor to BFG, and derives from the same harm incurred by the

Debtor in connection with BFG's default of the Loan and Govoni's breach of the guaranty.

Count II: Breach Of Fiduciary Duty Against Govoni, Staunton, and BAM

           20.      The CCAPs allege that Govoni, Staunton, and BAM breached their fiduciary duties

of care, loyalty, and prudence owed to the CCAPs by causing the transfer of SNT Funds that were

not a reasonable investment, authorized, or ever repaid to the SNTs. The transfer of SNT Funds

underlying the breach of fiduciary duty are specifically, the funds loaned to BFG. CCAPs argue that

the breach of fiduciary duties facilitated the loss of the loaned funds, directly tying the damages

sought to the funds underlying the original money loaned by the Debtor to BFG. In addition, Govoni,



                                                   6
76051501
                 Case 8:24-bk-00676-RCT     Doc 195     Filed 04/29/24      Page 7 of 25




Golden, Staunton, and BFG owed a fiduciary duty to the Debtor, and thus any breach of fiduciary

duty claim against them for the return of the Loan proceeds is property of the estate.

Count III: Breach Of Fiduciary Duty Against American Momentum Bank

           21.      The CCAPs again allege that American Momentum Bank breached its fiduciary

duties of care, loyalty, and prudence owed to the CCAPs by allowing the SNT Funds to be

misappropriately siphoned and transferred to BFG's American Momentum Bank accounts to fund

the Loan without conducting reasonable due diligence. CCAPs argue that the breach of fiduciary

duties facilitated the loss of the loaned funds, directly tying the damages sought to the funds

underlying the original money loaned by the Debtor to BFG. In addition, American Momentum

Bank had no contractual relationship with the Beneficiaries, only with the Debtor, and thus any

breach of fiduciary duty claim against the bank for the return of the Loan proceeds is property of the

bankruptcy estate.

Count IV: Aiding And Abetting Breach Of Fiduciary Duty Against Govoni, Golden, Staunton,

and BFG

           22.      The CCAPs allege Govoni, Golden, Staunton, and BFG breached their fiduciary

duties, by knowingly and substantially participating and/or providing substantial assistance in the

Debtor breaching its fiduciary duties owed to the CCAPs when SNT Funds were transferred to fund

the Loan. This claim is not a direct claim, but rather seeks recovery of the same misappropriated

money that funded the Loan by the Debtor to BFG, and derives from the same harm incurred by the

Debtor in connection with BFG's default of the Loan and Govoni's breach of the guaranty. In

addition, Govoni, Golden, Staunton, and BFG owed a fiduciary duty to the Debtor, and thus any

breach of fiduciary duty claim against them for the return of the Loan proceeds is property of the

estate.



                                                  7
76051501
                 Case 8:24-bk-00676-RCT      Doc 195     Filed 04/29/24     Page 8 of 25




Count V: Aiding And Abetting Breach Of Fiduciary Duty Against American Momentum Bank

           23.      The CCAPs allege American Momentum Bank knowingly and substantially

participated and/or provided substantial assistance in the Debtor breaching its fiduciary duties owed

to the CCAPs when SNT Funds were transferred to fund the Loan. Through these allegations the

CCAPs are attempting to recover the same money that funded the Loan. The CCAPs also allege that

American Momentum Bank breached its fiduciary duties of loyalty, care, and prudence by

commingling SNT Funds with funds in the Debtor’s operating accounts. Specifically, the CCAPs

allege that the funds that were used to fund the Loan were commingled with the Debtor’s operating

accounts. This claim is not a direct claim, but rather seeks recovery of the same misappropriated

money that funded the Loan by the Debtor to BFG, and derives from the same harm incurred by the

Debtor in connection with BFG's default of the Loan and Govoni's breach of the guaranty. In

addition, American Momentum Bank had no contractual relationship with the Beneficiaries, only

with the Debtor, and thus any breach of fiduciary duty claim against the bank for the return of the

Loan proceeds is property of the estate.

Count VI: Negligence Against Govoni, Golden, and Staunton

           24.      The CCAPs allege Govoni, Golden, and Staunton, in their capacity as founders,

agents, service providers, and substantial contributors of and to the Debtor owed the CCAPs the duty

to take reasonable steps to avoid harm to the CCAP's SNT Funds and otherwise knew or should have

known that transferring the SNT Funds to fund the Loan would have resulted in the subsequent

breach and default of the Loan. This claim is not a direct claim, but rather seeks recovery of the same

misappropriated money that funded the Loan by the Debtor to BFG, and derives from the same harm

incurred by the Debtor in connection with BFG's default of the Loan and Govoni's breach of the

guaranty. In addition, Govoni, Golden, Staunton, and BFG owed a duty of care to the Debtor, and



                                                  8
76051501
                 Case 8:24-bk-00676-RCT     Doc 195     Filed 04/29/24     Page 9 of 25




thus any such negligence claim against them for the return of the Loan proceeds is property of the

estate.

Count VII: Negligence Against American Momentum Bank

           25.      The CCAPs allege American Momentum Bank had a fiduciary duty to know and

conduct reasonable due diligence to ensure that the SNT Funds held in American Momentum Bank’s

accounts were not inappropriately being used or to benefit persons not otherwise entitled to the

benefit. CCAPs allege American Momentum Bank should have known that the SNT Funds were

depleted for the improper use of funding the Loan. This claim is not a direct claim, but rather seeks

recovery of the same misappropriated money that funded the Loan by the Debtor to BFG, and derives

from the same harm incurred by the Debtor in connection with BFG's default of the Loan and

Govoni's breach of the guaranty. In addition, American Momentum Bank had no contractual

relationship with the Beneficiaries, only with the Debtor, and thus any negligence claim against the

bank for the return of the Loan proceeds is property of the bankruptcy estate.

Count VIII: Violation Of Uniform Fraudulent Transfer Act, Fla. Stat, § 726.105 Against BFG

and Prospect Funding

           26.      The CCAPs allege BFG and Prospect Funding engaged in improper transfers with

the intent to hinder, delay, or defraud the CCAPs. This claim is not a direct claim, but rather seeks

recovery of the same misappropriated money that funded the Loan by the Debtor to BFG, and derives

from the same harm incurred by the Debtor in connection with BFG's default of the Loan and

Govoni's breach of the guaranty.

Count IX: Unjust Enrichment Against BFG

           27.      The CCAPs allege BFG was unjustly enriched with SNT Funds when the Debtor

transferred the SNT Funds to BFG which BFG subsequently defaulted on, leaving the CCAPs with



                                                  9
76051501
             Case 8:24-bk-00676-RCT      Doc 195      Filed 04/29/24     Page 10 of 25




no benefit of similar return. The CCAPs allege that BFG was gratuitously conferred a benefit at the

expense of the CCAPs. This claim is not a direct claim, but rather seeks recovery of the same

misappropriated money that funded the Loan by the Debtor to BFG, and derives from the same harm

incurred by the Debtor in connection with BFG's default of the Loan and Govoni's breach of the

guaranty.

Count X Unjust Enrichment Against Prospect Funding and Prospect Finance

           28.   CCAPs allege Prospect Funding and Prospect Finance were unjustly enriched with

SNT Funds when the Debtor transferred the SNT Funds to BFG which BFG subsequently defaulted

on, leaving the CCAPs with no benefit of similar return. The CCAPs allege that Prospect Funding

and Prospect Finance were gratuitously conferred a benefit at the expense of the CCAPs. The claim

for unjust enrichment seeks an equitable remedy for the return of the same money that funded the

Loan by the Debtor to BFG. This claim is not a direct claim, but rather seeks recovery of the same

misappropriated money that funded the Loan by the Debtor to BFG, and derives from the same harm

incurred by the Debtor in connection with BFG's default of the Loan and Govoni's breach of the

guaranty.

Count XI: Declaratory Relief - Alter Ego Against BFG, Prospect Funding, Prospect Finance,

Prospect III, Govoni, Golden, and Staunton

           29.   The CCAPs seek declaratory relief that BFG is the alter ego or and/or mere

instrumentality of its controllers Govoni, Golden, and Staunton. The CCAPs also seek declaratory

relief that Prospect Funding, Prospect Finance, and Prospect III are alter egos and/or mere

instrumentalities of each other and of their majority owner BFG. The CCAPs allege that these

defendants were hiding behind corporate veils to shield themselves from the liability of

misappropriating the money to fund the Loan. The CCAPs are seeking an alter ego remedy stemming



                                                10
76051501
             Case 8:24-bk-00676-RCT         Doc 195     Filed 04/29/24      Page 11 of 25




from the improper transfer of funds by the Debtor to BFG through the Loan, which is property of

the bankruptcy estate. See In re Icarus Holding, LLC, 391 F. 3d 315 (11th Cir. 2004) (holding an

alter ego claim is property of the estate under section 541 if (a) it is "a general claim that is common

to all creditors," and (2) state law allows the corporate entity to bring an alter ego claim against its

principal); In re Xenerga, Inc., 449 Br. 594, 599-600 (Bankr. M.D. Fla. 2011) (holding bankruptcy

trustee has exclusive authority to pursue alter ego claims under Florida law); In re Sigma-Tech

Sales, Inc., 2016 WL 4224090 (Bankr. S.D. Fla. July 31, 2016 (same); In re Haisfield, Case No.

3:13-ap-00065-PMG (Bankr. M.D. Fla. Oct. 12, 2016) (same); In re Ortega T., 562 B.R. 538

(Bankr. S.D. Fla. 2016 (same); Moffatt & Nicol, Inc. v. B.E.A. Int'l Corp., 48 So.3d 896, 901 (Fla.

3d DCA 2010 (holding that "like a bankruptcy trustee, an assignee for the benefit of creditors has

the exclusive authority to pursue fraudulent transfers and other 'choses in action' for the benefit of

all creditors."); Koch Refining v. Farmers Union Cent. Exchange, Inc., 831 F.2d 1339 (7th Cir.

1987) (finding alter ego, veil piercing and successor liability claims property of the bankruptcy

estate).

                                        The Orris Complaint

COUNT I: Breach Of Fiduciary Duty Against Defendants Govani, Staunton, Belisle, Shonter,

Janicki, Gregory, Diebert, Davis and Schroeder

           30.   The OCAPs allege Govoni, Staunton, Belisle, Shonter, Janick, Gregory, Diebert,

Davis and Schroeder, in their capacity as officers and directors of the Debtor owed the CCAPs

fiduciary duties of care, loyalty, and prudence to take reasonable steps to avoid harm to the OCAP's

SNT Funds and otherwise knew or should have known that transferring the SNT Funds to fund the

Loan would result in the subsequent breach and default of the Loan. This claim is not a direct claim,

but rather seeks recovery of the same misappropriated money that funded the Loan by the Debtor to



                                                  11
76051501
             Case 8:24-bk-00676-RCT         Doc 195     Filed 04/29/24      Page 12 of 25




BFG, and derives from the same harm incurred by the Debtor in connection with BFG's default of

the Loan and Govoni's breach of the guaranty. In addition, Govoni, Staunton, Belisle, Shonter,

Janick, Gregory, Diebert, Davis and Schroeder as D&Os owed a fiduciary duty to the Debtor, and

thus any such breach of fiduciary duty claim against them for the return of the Loan proceeds is

property of the estate.

COUNT II: Negligence Against Defendants Govani, Staunton, Belisle, Shonter, Janicki,

Gregory, Diebert, Davis and Schroeder.

           31.   The OCAPs allege Govani, Staunton, Belisle, Shonter, Janicki, Gregory, Diebert,

Davis and Schroeder acting in the course and scope of their roles as directors or officers of the Debtor

owed the OCAPs the duty to take reasonable steps to avoid harm to the CCAP's SNT Funds and

otherwise knew or should have known that transferring the SNT Funds to fund the Loan would have

resulted in the subsequent breach and default of the Loan. This claim is not a direct claim, but rather

seeks recovery of the same misappropriated money that funded the Loan by the Debtor to BFG, and

derives from the same harm incurred by the Debtor in connection with BFG's default of the Loan

and Govoni's breach of the guaranty. In addition, Govoni, Staunton, Belisle, Shonter, Janick,

Gregory, Diebert, Davis and Schroeder as D&Os owed a duty of care to the Debtor, and thus any

negligence claim against them for the return of the Loan proceeds is property of the estate.

COUNT III: Conversion Against Defendant BFG

           32.   The OCAPs allege BFG wrongfully exercised dominion over the SNT Funds of the

OCAPs by using the SNT Funds to fund the Loan without authorization. This claim is not a direct

claim, but rather seeks recovery of the same misappropriated money that funded the Loan by the

Debtor to BFG, and derives from the same harm incurred by the Debtor in connection with BFG's

default of the Loan and Govoni's breach of the guaranty.



                                                  12
76051501
             Case 8:24-bk-00676-RCT        Doc 195      Filed 04/29/24      Page 13 of 25




COUNT IV: Unjust Enrichment Against Defendant BFG

           33.   The OCAPs allege BFG was unjustly enriched with SNT Funds when the Debtor

transferred the SNT Funds to BFG which BFG subsequently defaulted on leaving the OCAPs with

no benefit of similar return. The OCAPs allege that BFG was gratuitously conferred a benefit at the

expense of the OCAPs. This claim is not a direct claim, but rather seeks recovery of the same

misappropriated money that funded the Loan by the Debtor to BFG, and derives from the same harm

incurred by the Debtor in connection with BFG's default of the Loan.

                                          Relief Requested

           34.   By this Motion, the Chapter 11 Trustee seeks entry of an order substantially in the

form attached as Exhibit A providing for the enforcement of the automatic stay as to the Class

Actions, because the alleged claims asserted therein are property of the bankruptcy estate and belong

exclusively to the Chapter 11 Trustee.

                                     Basis for Relief Requested

           35.   Section 362 of the Bankruptcy Code imposes an automatic stay on all collection

actions, enforcement of judgments, and litigation pursuits against the Debtor once a bankruptcy

petition is filed. The stay applies to “any act to obtain possession of property of the estate or of

property from the estate or to exercise control over property of the estate.” 11 U.S.C. § 362(a)(3).

The automatic stay in bankruptcy serves as a way to centralize all claims against the debtor and

provide a systematic, equitable distribution of the debtor's assets. See Matter of Patel, 642 B.R. 187,

196 (Bankr. N.D. Ga. 2022) (“The automatic stay is considered one of the fundamental debtor

protections provided by the bankruptcy laws, and one of its primary purposes is to provide the debtor

“breathing room” upon filing a bankruptcy petition”); In re Howard, 391 B.R. 511, 520 (Bankr. N.D.

Ga. 2008) (“[the automatic stay] performs the important function of protect[ing] creditors by



                                                  13
76051501
             Case 8:24-bk-00676-RCT        Doc 195      Filed 04/29/24      Page 14 of 25




avoiding the piece-meal or distressed liquidation of the debtor's assets and a race to the courthouse,

thus furthering administration of assets in an orderly fashion to achieve an equitable distribution

within the framework of the Bankruptcy Code.”).

           36.   Section 541 provides that “[p]roperty of the estate is comprised of all legal or

equitable interests of the debtor in property as of the commencement of the case“ wherever located

and by whomever held." “This includes legal causes of action the debtor had against others at the

commencement of the bankruptcy case.” Icarus Holding, 391 F.3d at 1319.

           37.   The “bankruptcy trustee stands in the shoes of the debtor and has standing to bring

any suit that the debtor could have instituted had it not been thrown into bankruptcy.” O'Halloran

v. First Union Nat'l Bank of Fla., 350 F.3d 1197, 1202 (11th Cir. 2003). Causes of action that

belong to the bankruptcy estate must be pursued by the Chapter 11 Trustee. Mennen v. Onkyo Corp.,

248 F. App'x 112, 113 (11th Cir. 2007) (“[i]f a cause of action belongs to the estate, then the trustee

has exclusive standing to assert the claim.”).

           38.   While the Beneficiaries are creditors of the bankruptcy estate, a creditor is only

allowed to bring a direct claim against a third party where it has been harmed directly. If the

creditor's harm is derived from an injury to the debtor, then the cause of action belongs to the

bankruptcy estate. Mennen v. Onkyo Corp., 248 F. App'x 112, 113 (11th Cir. 2007) (“If a cause of

action alleges only indirect harm to a creditor (i.e., an injury which derives from harm to the

debtor), and the debtor could have raised a claim for its direct injury under the applicable law, then

the cause of action belongs to the estate.”).

           39.   Here, while the Beneficiaries may have direct claims against the Debtor for

improperly funding the Loan to BFG with money the Debtor held in trust for the Beneficiaries, the

Beneficiaries do not have the rights to directly pursue claims arising out of the breach of the Loan



                                                  14
76051501
             Case 8:24-bk-00676-RCT        Doc 195     Filed 04/29/24      Page 15 of 25




Documents because the Beneficiaries did not suffer any direct harm. The direct harm was caused to

the Debtor through BFG and Govani's breach of the Loan Documents. Thus, the rights to pursue

direct claims arising out of the breach of the Loan, including the return of the funds transferred to

BFG and possibly others pursuant to the Loan Documents, are property of the bankruptcy estate.

           40.   The Beneficiaries have been indirectly harmed because their harm is derived from

harm to the Debtor caused by BFG and Govoni's breach of the Loan Documents. Stated differently,

the Beneficiaries’ harm is dependent and flows from the breached Loan.

           41.   The Chapter Trustee has been working around the clock to maximize the value of

the bankruptcy estate, including through his investigation of avenues to recover funds for the

benefit of the Debtor's creditors and the Beneficiaries. He is also administering the trusts and

communicating daily with Beneficiaries and other parties in interest. Failing to enforce the

automatic stay against the Class Actions will only further deplete the estate's resources and thus,

the ultimate distributions to Debtor's creditors and the Beneficiaries.

           42.   Enforcing the stay also will ensure that a primary objective of chapter 11 is

accomplished; i.e., assuring equality of distribution among similarly situated creditors. The

automatic stay is integral to chapter 11 as it prevents one creditor from seizing assets before others

have an opportunity to do so. By putting all creditors on a level playing field, the stay replaces the

chaotic “race to the courthouse” that would otherwise ensue in the absence of bankruptcy with an

organized distribution scheme. See In re Meier, No. 14-AP-237, 2014 WL 5426763, at *2 (Bankr.

N.D. Ill. Oct. 21, 2014) (explaining that the automatic stay “protects creditors by ending the race

to the courthouse and the piecemeal liquidation of the debtor's estate in favor of the fair and equal

treatment of creditors.”); In re Medicar Ambulance Co., Inc., 166 B.R. 918, 924 (Bankr. N.D. Cal.

1994) (explaining that, “By preventing a race to the courthouse, bankruptcy results in either a



                                                 15
76051501
             Case 8:24-bk-00676-RCT                Doc 195        Filed 04/29/24         Page 16 of 25




reorganization or an orderly liquidation of the debtor which will benefit all creditors.”). Here, the

Chapter 11 Trustee is uniquely skilled and situated to recover any funds misappropriated by the

Debtor and others, and to distribute those funds to the Debtor's creditors and the Beneficiaries,

fairly and equitably though the bankruptcy claims administration process.

           43.    Finally, in the unlikely event that the Court determines the automatic stay is

inapplicable to any of the Class Action claims, the Court should extend the stay to these non-debtor

defendants under section 105(a) of the Bankruptcy Code6, as the Class Action claims are

duplicative and seek recovery of the same amount sought to be recovered by the Chapter 11 Trustee

in the Adversary Proceeding (i.e., the proceeds of the Loan due from BFG and Govoni to the

Debtor), and will also interfere with the Chapter 11 Trustee's contemplated claims against the same

third parties. See Fox v. Picard (In re Bernard L. Madoff Inv. Sec. LLC), 848 F.Supp.2d 469, 478-

85 (S.D.N.Y. 2012) (extending the automatic stay via section 105 injunction to bar a creditor’s

actions against a third party which duplicated the trustee’s fraudulent transfer claims against the

same party, ruling that those claims were property of the estate); see also Marshall v. Picard (In

re Bernard L. Madoff Inv. Secs.), 740 F.3d 81, 84, 96 (2d Cir. 2014) (finding individual investor

complaints impermissibly attempted to “plead around” the bankruptcy court's injunction barring

all claims “derivative” of those asserted by the trustee and, although they sought damages that

were not recoverable in an avoidance action, their complaints were nothing more than an attempt

to recover fraudulent withdrawals from the company); A.H. Robins Co., Inc. v. Piccinin, 788 F.2d


6
  Section 105(a) authorizes the Court to issue “any order, process, or judgment that is necessary or appropriate to carry
out the provisions of [the Bankruptcy Code].” Section 105(a) is intended “to assure the bankruptcy courts[‘] power to
take whatever action is appropriate or necessary in aid of the exercise of its jurisdiction.” 2 Collier on Bankruptcy ¶
105.01 (16th ed.). Further, 28 U.S.C. § 1334 gives the bankruptcy court “exclusive jurisdiction of all the property,
wherever located, of the debtor as of the commencement of [its] case, and of property of the estate.” “The broad
jurisdictional grant in section 1334(e) is implemented in part by section 105, which gives the court the power to ‘issue
any order, process or judgment that is necessary or appropriate to carry out the provisions of [title 11].’” 2 Collier on
Bankruptcy ¶ 105.02[2] (16th ed.).


                                                          16
76051501
             Case 8:24-bk-00676-RCT               Doc 195        Filed 04/29/24        Page 17 of 25




994, 999-1002 (4th Cir. 1986) (determining that where suit against a third-party defendant sought

“possession or control over property of the debtor,” a stay may be warranted for the third-party

defendant); In re Adelphia Communications Corp., 302 B.R. 439 (Bankr. S.D.N.Y. 2003)

(extending the automatic stay under Section 105 to non-debtors to avoid interference with debtor's

reorganization process or when actions might lead to duplicate efforts that harm the bankruptcy

estate); In re United Health Care Org., 210 B.R. 228, 232 (S.D.N.Y. 1997) (granting extension of

automatic stay under Section 105 where “there is such identity between the debtor and the third-

party defendant that the debtor may be said to be the real party defendant and that a judgment

against the third-party defendant will in effect be a judgment against the debtor”).

           44.    In circumstances similar to this case, courts in this District have stayed proceedings

to avoid piecemeal litigation where all claims and counter-claims are comprised of common

questions of law and fact, to conserve judicial resources, and when there is a risk of inconsistent

judgments against the parties. See Peterson v. Avantair, Inc., No. 8:13-cv-1683-T-33EAJ, 2013

WL 4506414, at *2 (M.D. Fla. Aug. 23, 2013); SCI Northbay Commerce Fund 4, LLC v. SCI Real

Estate Invs., No. 8:11-cv-31-T-24TGW, 2011 WL 1133898, at *1 (M.D. Fla. Mar. 28, 2011).7

Thus, this Court may properly exercise its authority under section 105(a) to enjoin the Class

Actions because those lawsuits are duplicative and seek recovery of the same amount sought to be

recovered by the Chapter 11 Trustee in the Adversary Proceeding, and a failure to enjoin them

would detrimentally affect the bankruptcy estate and adversely impact the Chapter 11 Trustee's

ability to formulate a chapter 11 plan to distribute funds fairly and equitably to the Debtor's




7
  Notably, “[a] district court’s inherent power to stay proceedings is not mitigated or obviated by § 362(a).” Kreisler
v. Goldberg, 478 F.3d 209, 215 (4th Cir. 2007).


                                                         17
76051501
              Case 8:24-bk-00676-RCT          Doc 195     Filed 04/29/24     Page 18 of 25




creditors and the Beneficiaries. See, e.g., Willis v. Celotex Corp., 978 F.2d 146, 149 (4th Cir.

1992).

                                          Reservation of Rights

           45.      The Chapter 11 Trustee reserves the right upon completion of his investigation and

discovery to assert any additional claims for relief against the Class Action Defendants or to add

additional defendants which he may identify as may be warranted under the circumstances and as

allowed by law or equity.8 In addition, nothing set forth herein is intended, nor shall be deemed, to

modify, limit, release, reduce, or waive any of the Chapter 11 Trustee’s rights, claims, remedies, or

privileges at law, in equity, or pursuant to agreement, all of which are specifically preserved.

                                        Good Faith Certification

           46.      Counsel for the Chapter 11 Trustee conferred with counsel for the Chamberlain Class

Action Plaintiffs who indicated that they opposed the relief requested in this motion, subject to

conferring again with the Chapter 11 Trustee prior to any hearing held on this motion. In addition,

counsel for the Chapter 11 Trustee attempted to confer with counsel for the Orris Class Action

Plaintiffs, but was unable to do so prior to filing this motion.




8
    See note 2 supra.

                                                    18
76051501
             Case 8:24-bk-00676-RCT       Doc 195     Filed 04/29/24      Page 19 of 25




                                            Conclusion

           WHEREFORE, the Chapter 11 Trustee requests this Court enter an order substantially in

the form attached hereto as Exhibit A enforcing the automatic stay against the Class Actions to

allow the Chapter 11 Trustee to efficiently and effectively manage, settle, or prosecute the Chapter

11 Trustee's rights, claims and interests arising from the breach of the Loan Documents and

providing for such other and further relief as to the Court deems just.

                                              Respectfully submitted,

                                              AKERMAN LLP

                                              By: /s/ Steven R. Wirth
                                                 Steven R. Wirth
                                                 Florida Bar No.: 170380
                                                 Email: steven.wirth@akerman.com
                                                 Raye C Elliott
                                                 Florida Bar No.: 18732
                                                 Email: raye.elliott@akermanl.com
                                                 401 East Jackson Street, Suite 1700
                                                 Tampa, Florida 33602
                                                 Telephone: (813) 223-7333
                                                 Facsimile: (813) 223-2837

                                                  Counsel for Chapter 11 Trustee, Michael
                                                  Goldberg




                                                19
76051501
             Case 8:24-bk-00676-RCT      Doc 195      Filed 04/29/24    Page 20 of 25




                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on April 29, 2024, I filed a true and correct copy of the

foregoing with the United States Bankruptcy Court for the Middle District of Florida using the

Court’s CM/ECF system, which will serve copies on all counsel of record. Additionally, Epiq

Corporate Restructuring, LLC will cause a true and correct copy of the foregoing document to be

served on all parties required to be served, including (i) the Class Action Plaintiffs and Class

Action Defendants and (ii) the Local Rule 1007-2 Parties in Interest List.

 Alan L. Rosca                                    Brian O. Marty
 Rosca Scarlato LLC                               Shindler Anderson Goplerud & Weese P.C.
 2000 Auburn Drive, Suite 200                     5015 Grand Ridge Drive, Suite 100
 Beachwood, OH 44122                              West Des Moines, IA 50265
 Attorneys for Orris Class Action Plaintiffs      Attorneys for Orris Class Action Plaintiffs

 J. Barton Goplerud                               Paul J. Scarlato
 Shindler Anderson Goplerud & Weese P.C.          Rosca Scarlato LLC
 5015 Grand Ridge Drive, Suite 100                161 Washington Street, Suite 1025
 West Des Moines, IA 50265                        Conshohocken, PA 19428
 Attorneys for Orris Class Action Plaintiffs      Attorneys for Orris Class Action Plaintiffs

 Jonathan M. Stein                                Jonathan M. Streisfeld
 SteinLaw Florida, PLLC                           Kopelowitz Ostrow, PA
 1825 NW Corporate Blvd., Suite 110               One West Las Olas Blvd., Ste. 500
 Boca Raton, FL 33431                             Ft Lauderdale, FL 33301
 Attorneys for Orris Class Action Plaintiffs      Attorneys for Chamberlain Class Action
                                                  Plaintiffs

 Andrew Smith                                     Caroline Herter
 Leeder Law                                       Ko Lawyers
 8551 W. Sunrise Blvd.                            1 West Las Olas Blvd
 Suite 202                                        Suite 500
 Plantation, FL 33322                             Fort Lauderdale, FL 33301
 Attorneys for Chamberlain Class Action           Attorneys for Chamberlain Class Action
 Plaintiffs                                       Plaintiffs




                                                20
76051501
           Case 8:24-bk-00676-RCT     Doc 195     Filed 04/29/24   Page 21 of 25




 David Lawrence Ferguson                      Thomas H. Leeder
 Kopelowitz Ostrow Ferguson Weiselberg        Leeder Law
 Gilbert                                      8551 West Sunrise Blvd., Suite 202
 One West Las Olas Blvd., Ste. 500            Plantation, FL 33322
 Fort Lauderdale, FL 33301                    Attorneys for Chamberlain Class Action
 Attorneys for Chamberlain Class Action       Plaintiffs
 Plaintiffs

 Jeff M. Ostrow                               Eric S. Koenig
 Kopelowitz Ostrow, PA                        Trenam, Kemker, Scharf, Barkin, Frye,
 One West Las Olas Blvd., Ste. 500            O'Neill & Mullis,
 Ft Lauderdale, FL 33301                      Suite 2700
 Attorneys for Chamberlain Class Action       101 E Kennedy Blvd
 Plaintiffs                                   Tampa, FL 33602
                                              Attorneys for Defendants Boston Finance
                                              Group, LLC, Boston Asset Management Inc.,
                                              Prospect Funding Holdings, LLC,
                                              Prospect Funding Holdings (NY) III, LLC,
                                              Prospect Funding Partners, LLC,
                                              Leo J. Govoni, John W. Staunton, Jonathan
                                              Golden, Boston Holding Company, LLC, and
                                              Fiduciary Tax & Accounting Services, LLC


 William Albert McBride                       Marcos Rosales
 Trenam, Kemker, Scharf, Barkin, Frye,        Beck Redden LLP
 O'Neill & Mullis,                            1221 McKinney Street, Suite 4500
 Suite 2700                                   Houston, TX 77010
 101 E Kennedy Blvd                           Attorneys for Defendant American Momentum
 Tampa, FL 33602                              Bank
 Attorneys for Defendants Boston Finance
 Group, LLC, Boston Asset Management Inc.,
 Prospect Funding Holdings, LLC,
 Prospect Funding Holdings (NY) III, LLC,
 Prospect Funding Partners, LLC,
 Leo J. Govoni, John W. Staunton, Jonathan
 Golden, Boston Holding Company, LLC, and
 Fiduciary Tax & Accounting Services, LLC




                                             21
76051501
           Case 8:24-bk-00676-RCT     Doc 195       Filed 04/29/24   Page 22 of 25




 Bennett J Ostdiek                              Cassie Maneen
 Beck Redden LLP                                Beck Redden LLP
 1221 McKinney Street                           1221 McKinney Street, Suite 4500
 Suite 4500                                     Houston, TX 77010
 Houston, TX 77010                              Attorneys for Defendant American Momentum
 Attorneys for Defendant American Momentum      Bank
 Bank

 Charles W. Throckmorton                        Donald R. Kirk
 Carlton Fields                                 Carlton Fields, PA
 2 MiamiCentral                                 4221 W Boy Scout Blvd, Ste. 1000
 700 N.W. 1st Avenue                            Tampa, FL 33607
 Suite 1200                                     Attorneys for Defendant American Momentum
 Miami, FL 33136                                Bank
 Attorneys for Defendant American Momentum
 Bank

 Daniel Andrew Nicholas
 Cole, Scott & Kissane, P.A.
 500 N Westshore Blvd
 Suite 700
 Tampa, FL 33609
 Attorneys for Defendant John W. Staunton




                                            /s/Steven R. Wirth
                                            Steven R. Wirth




                                              22
76051501
Case 8:24-bk-00676-RCT   Doc 195   Filed 04/29/24   Page 23 of 25




             Exhibit A
              Case 8:24-bk-00676-RCT               Doc 195       Filed 04/29/24        Page 24 of 25




                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION


In re:                                                                   Case No. 8-24-bk-00676-RCT

THE CENTER FOR SPECIAL NEEDS
TRUST ADMINISTRATION, INC.,                                              Chapter 11

      Debtor.
_____________________________________/

                           ORDER APPROVING CHAPTER 11 TRUSTEE’S
                            MOTION TO ENFORCE AUTOMATIC STAY

           This case is before the Court upon the Chapter 11 Trustee’s Motion to Enforce the

Automatic Stay as to the Class Actions pursuant to 11 U.S.C. §§ 105(a) and 362 (Doc. __) (the

“Motion”)1. After proper notice to interested parties pursuant to Local Bankruptcy Rule 2002-4;

and this Court having jurisdiction to consider the Motion and the relief requested therein

pursuant to 28 U.S.C. §§ 157 and 1334, having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2), having found that venue of this proceeding and the Motion in this District

is proper pursuant to 28 U.S.C. §§ 1408 and 1409, having found that the Chapter 11 Trustee's

notice of the Motion was adequate and appropriate under the circumstances, and having

reviewed the Motion and determined that the legal and factual bases set forth in the Motion


1
    Unless otherwise noted, capitalized terms from the Motion are incorporated by reference herein.
            Case 8:24-bk-00676-RCT          Doc 195      Filed 04/29/24   Page 25 of 25




establish just cause for the relief granted herein and that the relief sought in the Motion is in the

best interests of the Debtor, the bankruptcy estate, its creditors, the Beneficiaries, and other

parties in interest, upon review of the record before the Court and having heard argument of

counsel at the hearing held on ________ ___, 2024 at __:__ a.m./p.m., good and sufficient cause

exists to grant the relief requested. It is hereby

ORDERED:

       1.      The Motion is GRANTED.

       2.      Objections, if any, to the relief requested in this Motion that have not been

withdrawn, waived, or settled are hereby overruled.

       3.      The automatic stay imposed by 11 U.S.C. § 362(a) is enforced and all parties to

the Class Actions are prohibited and enjoined from continuing litigation in the Class Actions.

       4.      To the extent necessary, the automatic stay is extended to the defendants in the

Class Actions pursuant to 11 U.S.C. § 105(a).

       5.      The Chapter 11 Trustee is authorized and empowered to take all actions he deems

necessary to effectuate the relief granted pursuant to this Order in accordance with the Motion.

       6.      The Chapter 11 Trustee shall promptly file a copy of this Order in each Class

Action with the United States District Court for the Middle District of Florida, notifying the

Court of the enforcement of the automatic stay as it relates to the Class Actions.

       7.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation and/or enforcement of this Order.


Steven R. Wirth, Esq. is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and file a proof of service within three days of entry of this order.




                                                     2
